Case 2:93-cv-00902-RBS Document 581 Filed 11/29/19 Page 1 of 4 PageID# 5139




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
              Plaintiff,

v.                                                                     Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL,
ITS ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A POINT
LOCATED AT 41 43’ 32” NORTH LATITUDE
AND 49 56’ 49” WEST LONGITUDE,
BELIEVED TO BE THE R.M.S. TITANIC
in rem,
            Defendant.

                                                STATUS REPORT

           The United States, as amicus, and on behalf of its National Oceanic and Atmospheric

Administration (“NOAA”), provides the following update to the Court.

           On November 18, 2019, the United States deposited its instrument of acceptance for the

Agreement Concerning the Shipwrecked Vessel R.M.S. Titanic (hereinafter the “International

Agreement”), triggering its entry into force. A copy of the Instrument of Acceptance is attached

hereto. The International Agreement can be found on NOAA’s website.1

           By way of background, shortly after the Titanic was discovered in 1986, Congress

enacted the RMS Titanic Maritime Memorial Act of 1986 (“the Act”). 16 U.S.C. §§ 450rr et seq.

The Act called on the NOAA Administrator to consult with the United Kingdom, France,

Canada, and other interested nations to develop international guidelines for research on,

exploration of, and if appropriate, salvage of the Titanic. Id. at § 450rr-5. The Act also called on


1
    See http://www.gc.noaa.gov/gcil_titanic-intl.html.

                                                         Page 1 of 4
Case 2:93-cv-00902-RBS Document 581 Filed 11/29/19 Page 2 of 4 PageID# 5140




the United States Secretary of State to enter into negotiations with such nations to develop an

international agreement to (1) designate the Titanic as an international maritime memorial, and

(2) provide for research on, exploration of, and, if appropriate, salvage of Titanic consistent with

the international guidelines. Id. at 450rr-6. Once completed, the State Department would notify

Congress and provide Congressional committees “recommendations for legislation to implement

the agreement.” Id. at § 450rr-6(d).

       The NOAA Administrator issued its “Guidelines for Research, Exploration and Salvage

of RMS Titanic,” which became effective on April 12, 2001. 66 Fed. Reg. 18905 (Apr. 12,

2001). The United States, United Kingdom, France, and Canada negotiated the International

Agreement, which the United Kingdom ratified in 2003 and the United States signed in 2004.

On May 5, 2017, the President signed the Consolidated Appropriations Act, 2017, Pub. L. No.

115-31 (May 5, 2017), which included appropriations for the Department of Commerce, id. at

Div. B, Title 1. Section 113 of that Act provides:

       For fiscal year 2017 and each fiscal year thereafter, no person shall conduct any
       research, exploration, salvage, or other activity that would physically alter or
       disturb the wreck or wreck site of the RMS Titanic unless authorized by the
       Secretary of Commerce per the provisions of the Agreement Concerning the
       Shipwrecked Vessel RMS Titanic [i.e., the International Agreement]. The
       Secretary of Commerce shall take appropriate actions to carry out this section
       consistent with the Agreement.

Department of Commerce Appropriations Act, 2017, Pub. L. 115-31, 131 Stat 135, 192 (2017).

Section 113 provides implementing authority necessary for the United States to accept the

Agreement.

       The United States Department of State deposited the United States’ instrument of

acceptance, Exhibit 1, with the United Kingdom on November 18, 2019, thereby triggering the

International Agreement’s entry into force. The 1986 Memorial Act, Section 113, NOAA’s



                                            Page 2 of 4
Case 2:93-cv-00902-RBS Document 581 Filed 11/29/19 Page 3 of 4 PageID# 5141




guidelines and, now, the International Agreement, together establish and firmly fix the public

interest in the preservation and protection of the Titanic, its artifacts, and the Titanic wreck site

for posterity. See R.M.S. Titanic, Inc. v. Wrecked & Abandoned Vessel, 742 F. Supp. 2d 784,

792-93 (E.D. Va. 2010); see also ECF No. 289 at 3, n. 2 (United States’ March 17, 2008 Amicus

Brief describing the United States’ interest in the Titanic and its artifacts).

                                                 Respectfully submitted,

                                                 G. Zachary Terwilliger
                                                 United States Attorney

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                                                Page 3 of 4
Case 2:93-cv-00902-RBS Document 581 Filed 11/29/19 Page 4 of 4 PageID# 5142




                                CERTIFICATE OF SERVICE

        I hereby certify that on the 29th day of November, 2019, I will electronically file the
foregoing document with the Clerk of Court using the CM/ECF system, which will then send a
notification of electronic filing (NEF) to the following:

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                                           Page 4 of 4
